          Case 1:20-cv-03010-APM Document 542 Filed 03/13/23 Page 1 of 7




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,
                                                     Case No. 1:20-cv-03010-APM
                                 Plaintiffs,

 v.                                                  HON. AMIT P. MEHTA

 GOOGLE LLC,

                                 Defendant.



                         PLAINTIFFS’ NOTICE OF PUBLIC FILING

         Plaintiffs respectfully submit the attached Public Redacted versions of exhibits to

Plaintiffs’ Memorandum in Opposition to Defendant Google LLC’s Motion to Partially Exclude

the Opinion of Plaintiffs’ Expert Christine M. Hammer (ECF No. 462).


       Exhibit        ECF No.       Description
                                    Excerpts from the Expert Report of Michael D. Whinston,
      Exhibit A         462-1       PhD (Plaintiffs’ Expert) (June 6, 2022) [Corrected Nov. 4,
                                    2022]
                                    Excerpts from the Deposition of Christine Hammer
      Exhibit B         462-2
                                    (Plaintiffs’ Expert) (Oct. 10–11, 2022)
                                    Excerpt from the Expert Rebuttal Report of Mark A. Israel
      Exhibit C         462-3
                                    (Defendant’s Expert) (Aug. 6, 2022)
                                    Excerpts from the Reply Expert Report of Michael D.
      Exhibit D         462-4       Whinston, PhD (Plaintiffs’ Expert) (Sept. 26, 2022)
                                    [Corrected Nov. 4, 2022]
                                    Excerpts from Financial Valuation: Applications and Models,
      Exhibit E         462-5
                                    (4th ed. 2017)
      Exhibit F         462-6       Excerpts from Barron’s Dictionary of Accounting Terms
                                    Stephan H. Penman, Financial Statement Analysis & Security
      Exhibit G         462-7
                                    Valuation (2001)
                                    Excerpts from Clyde P. Stickney et al., Financial Accounting:
      Exhibit H         462-8       An Introduction to Concepts, Methods, and Uses (13th ed.
                                    2010)
      Case 1:20-cv-03010-APM Document 542 Filed 03/13/23 Page 2 of 7




                           Excerpts from Roman L. Weil et al. Financial Accounting: An
  Exhibit I        462-9
                           Introduction to Concepts, Methods, and Uses (14th ed. 2014)
                           Shannon P. Pratt, The Market Approach to Valuing
  Exhibit J       462-10
                           Businesses (2001)
                           Excerpts of the Deposition of Mark. A. Israel, Ph.D.
  Exhibit K       462-11
                           (Defendants’ Expert) (Nov. 3–4, 2022)




Dated: March 13, 2023                 Respectfully submitted,


                                      By:    /s/ Kenneth M. Dintzer
                                      Kenneth M. Dintzer
                                      Karl E. Herrmann (D.C. Bar # 1022464)
                                      U.S. Department of Justice, Antitrust Division
                                      Technology & Digital Platforms Section
                                      450 Fifth Street NW, Suite 7100
                                      Washington, DC 20530
                                      Telephone: (202) 227-1967
                                      Kenneth.Dintzer2@usdoj.gov

                                      Counsel for Plaintiff United States of America


                                      By:    /s/ Margaret Sharp
                                      Ken Paxton, Attorney General
                                      James Lloyd, Chief, Antitrust Division
                                      Margaret Sharp, Assistant Attorney General
                                      Office of the Attorney General, State of Texas
                                      300 West 15th Street
                                      Austin, Texas 78701
                                      Margaret.Sharp@oag.texas.gov

                                      Counsel for Plaintiff State of Texas




                                        2
Case 1:20-cv-03010-APM Document 542 Filed 03/13/23 Page 3 of 7




                            By:     /s/ Matthew Michaloski
                            Theodore Edward Rokita, Attorney General
                            Scott L. Barnhart, Chief Counsel and Director,
                            Consumer Protection Division
                            Matthew Michaloski, Deputy Attorney General
                            Christi Foust, Deputy Attorney General
                            Office of the Attorney General, State of Indiana
                            Indiana Government Center South, Fifth Floor
                            302 West Washington Street
                            Indianapolis, Indiana 46204
                            Matthew.Michaloski@atg.in.gov

                            Counsel for Plaintiff State of Indiana


                            By:     /s/ Keaton Barnes
                            Keaton Barnes
                            Arkansas Bar No. 2022161
                            Assistant Attorney General
                            Office of Tim Griffin, Attorney General
                            323 Center Street, Suite 200
                            Little Rock, AR 72201
                            Keaton.Barnes@ArkansasAG.gov

                            Counsel for Plaintiff State of Arkansas


                            By:    /s/ Brian Wang
                            Rob Bonta, Attorney General
                            Ryan J. McCauley, Deputy Attorney General
                            Brian Wang, Deputy Attorney General
                            Henry Cornillie, Deputy Attorney General
                            Paula Blizzard, Supervising Deputy Attorney
                            General
                            Office of the Attorney General,
                            California Department of Justice
                            455 Golden Gate Avenue, Suite 11000
                            San Francisco, California 94102
                            Brian.Wang@doj.ca.gov

                            Counsel for Plaintiff State of California




                              3
Case 1:20-cv-03010-APM Document 542 Filed 03/13/23 Page 4 of 7




                            By:     /s/ Lee Istrail
                            Ashley Moody, Attorney General
                            R. Scott Palmer, Special Counsel, Complex
                            Enforcement Chief, Antitrust Division
                            Nicholas D. Niemiec, Assistant Attorney General
                            Lee Istrail, Assistant Attorney General
                            Office of the Attorney General, State of Florida
                            PL-01 The Capitol
                            Tallahassee, Florida 32399
                            Lee.Istrail@myfloridalegal.com
                            Scott.Palmer@myfloridalegal.com

                            Counsel for Plaintiff State of Florida


                            By:    /s/ Daniel Walsh
                            Christopher Carr, Attorney General
                            Margaret Eckrote, Deputy Attorney General
                            Daniel Walsh, Senior Assistant Attorney General
                            Charles Thimmesch, Assistant Attorney General
                            Office of the Attorney General, State of Georgia
                            40 Capitol Square, SW
                            Atlanta, Georgia 30334-1300
                            cthimmesch@law.georgia.gov

                            Counsel for Plaintiff State of Georgia


                            By:     /s/ Philip R. Heleringer
                            Daniel Cameron, Attorney General
                            J. Christian Lewis, Commissioner of the Office of
                            Consumer Protection
                            Philip R. Heleringer, Executive Director of the
                            Office of Consumer Protection
                            Jonathan E. Farmer, Deputy Executive Director
                            of the Office of Consumer Protection
                            Office of the Attorney General, Commonwealth
                            of Kentucky
                            1024 Capital Center Drive, Suite 200
                            Frankfort, Kentucky 40601
                            Philip.Heleringer@ky.gov

                            Counsel for Plaintiff Commonwealth of Kentucky




                              4
Case 1:20-cv-03010-APM Document 542 Filed 03/13/23 Page 5 of 7




                            By:    /s/ Christopher J. Alderman
                            Jeff Landry, Attorney General
                            Christopher J. Alderman, Assistant Attorney
                            General
                            Office of the Attorney General, State of
                            Louisiana
                            Public Protection Division
                            1885 North Third St.
                            Baton Rouge, Louisiana 70802
                            AldermanC@ag.louisiana.gov

                            Counsel for Plaintiff State of Louisiana


                            By:    /s/ Scott Mertens
                            Dana Nessel, Attorney General
                            Scott Mertens, Assistant Attorney General
                            Michigan Department of Attorney General
                            P.O. Box 30736
                            Lansing, Michigan 48909
                            MertensS@michigan.gov

                            Counsel for Plaintiff State of Michigan


                            By:    /s/ Stephen M. Hoeplinger
                            Stephen M. Hoeplinger
                            Assistant Attorney General
                            Missouri Attorney General’s Office
                            815 Olive St., Suite 200
                            St. Louis, Missouri 63101
                            Stephen.Hoeplinger@ago.mo.gov

                            Counsel for Plaintiff State of Missouri




                              5
Case 1:20-cv-03010-APM Document 542 Filed 03/13/23 Page 6 of 7




                            By:    /s/ Hart Martin
                            Lynn Fitch, Attorney General
                            Hart Martin, Special Assistant Attorney General
                            Crystal Utley Secoy, Assistant Attorney General
                            Office of the Attorney General, State of
                            Mississippi
                            P.O. Box 220
                            Jackson, Mississippi 39205
                            Hart.Martin@ago.ms.gov

                            Counsel for Plaintiff State of Mississippi


                            By:   /s/ Anna Schneider
                            Anna Schneider
                            Bureau Chief
                            Montana Office of Consumer Protection
                            P.O. Box 200151
                            Helena, MT. 59602-0150
                            Phone: (406) 444-4500
                            Fax: 406-442-1894
                            Anna.schneider@mt.gov

                            Counsel for Plaintiff State of Montana


                            By:    /s/ Mary Frances Jowers
                            Alan Wilson, Attorney General
                            W. Jeffrey Young, Chief Deputy Attorney
                            General
                            C. Havird Jones, Jr., Senior Assistant Deputy
                            Attorney General
                            Mary Frances Jowers, Assistant Deputy Attorney
                            General
                            Rebecca M. Hartner, Assistant Attorney General
                            Office of the Attorney General, State of South
                            Carolina
                            1000 Assembly Street
                            Rembert C. Dennis Building
                            P.O. Box 11549
                            Columbia, South Carolina 29211-1549
                            mfjowers@scag.gov

                            Counsel for Plaintiff State of South Carolina




                              6
Case 1:20-cv-03010-APM Document 542 Filed 03/13/23 Page 7 of 7




                            By:    /s/ Gwendolyn J. Lindsay Cooley
                            Joshua L. Kaul, Attorney General
                            Gwendolyn J. Lindsay Cooley, Assistant
                            Attorney General
                            Wisconsin Department of Justice
                            17 W. Main St.
                            Madison, Wisconsin 53701
                            Gwendolyn.Cooley@Wisconsin.gov

                            Counsel for Plaintiff State of Wisconsin




                              7
